             IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF TENNESSEE
                             AT NASHVILLE

 BRIAN MANOOKIAN,                       )
                                        )
    Appellant                           )
                                        )
 v.                                     )     Case No: 3:23-cv-00918
                                        )     Judge Aleta A. Trauger
 JEANNE ANN BURTON, TRUSTEE,            )
                                        )
    Appellee.                           )
                 __________________________________


        ON APPEAL FROM THE UNITED STATES BANKRUPTCY COURT
               FOR THE MIDDLE DISTRICT OF TENNESSEE
                         Case No. 3:19-bk-7235

                     _____________________________________


          BRIEF OF THE APPELLEE, JEANNE ANN BURTON, TRUSTEE

                     ______________________________________




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Case 3:23-cv-00918    Document 7    Filed 10/27/23   Page 1 of 30 PageID #: 2223
                          I.    TABLE OF CONTENTS

                                                                            Page

 I.      Table of Contents……………………………………………………………….. ..1

 II.     Table of Authorities………………………………………………………..….......2

 III.    Standard of Review…………………………………………………………...…..6

 IV.     Statement of the Case………………………………………………………..……7

 V.      Summary of Argument……………………………………………..…………….10

 VI.     Argument……………………………………………………………………..….12

         A.    THE APPELLANTS FAILED TO ESTABLISH ANY BASIS FOR
               RECUSAL………………………………………………………..….......12

               a. THE APPELLANTS OFFERED NO EVIDENCE TO SUPPORT THE
                  RECUSAL MOTION…………………………….……………..…...14

               b. THERE ARE NO INDICIA OF BIAS……………….………….......14

         B.    THERE   WERE    NO    IMPERMISSIBLE   EX  PARTE
               COMMUNICATIONS WITH THE BANKRUPTCY COURT………...18

         C.    THE BANKRUPTCY COURT EXPLAINED THAT IT CONDUCTED
               NO EXTRAJUDICIAL RESEARCH………….……………………..…22

         D.    APPELLANT LACKS STANDING………………………………...…..23

         E.    THE MOTION TO RECUSE WAS UNTIMELY……………………….26

 VII.    Conclusion………………………………………………………………….....…27

 VIII.   Certificate of Compliance with Fed. R. App. P. 32(a)(7)………………...……...28

 IX.     Certificate of Service……………………………………………………………..29




                                         1
Case 3:23-cv-00918    Document 7     Filed 10/27/23   Page 2 of 30 PageID #: 2224
                      II.    TABLE OF AUTHORITIES

                                  Federal Cases

                                                                        PAGE
 Am. Express Travel Related Servs. Co., Inc. v. Fraschilla (In re Fraschilla)
       235 B.R. 449, 459 (9th Cir. BAP 1999………………………………………..…26

 Blixseth v. Yellowstone Mt. Club, LLC
         742 F.3d 1215 (9th Cir. 2013)……. ………………………………..………18,19,20

 Boyd v. Shuford
        2018 U.S. Dist. LEXIS 54661 (W.D.N.C. 2018)…………………………………24

 David v. City & Cnty. Of Denver
        101 F.3d 1344 (10th Cir. 1996)………………………………...…………..………6

 Fidelity Bank, Nat’l Ass’n v. M.M. Group, Inc.
         77 F.3d 880 (6th Cir. 1996)……. ………………………………..……………23, 24

 Furlough v. Cage (In re Technicool Systems)
       896 F.3d 382 (5th Cir. 2008)………………………………………………………24

 Hinman v. Rogers
       831 F.2d 937 (10th Cir. 1987)……………………………………………………....6

 Hook v. McDade
        89 F.3d 350 (7th Cir. 1996)………………………………………..………..……..13

 In re Allen
         2009 LEXIS 4431 (Bankr. Idaho 2009)……. ……………………..……….…18,20

 In re Beard
         811 F.2d 818 (4th Cir. 1987)……. ………………………………..……….……..20

 In re Casco Bay Lines, Inc.
        17 B.R. 946 (1st Cir. BAP 1982)……. ……………………………….…….……..20

 In re City of Detroit
         828 F.2d 1160 (6th Cir. 1987)……………………………………………….……..6

 In re Gibson
        2010 WL 744572 (Bankr. C.D. Ill. 2010)……………………………..………....12

 In re Haas
        292 B.R. 167, 181 (Bankr. S.D. Ohio 2003)……………………………………..26



                                        2
Case 3:23-cv-00918   Document 7     Filed 10/27/23   Page 3 of 30 PageID #: 2225
 In re International Bus. Mach. Corp.
         45 F.3d 641, 643 (2d Cir.1995)…………………………………………………..26

 In re Nat’l Union Fire Ins. Co.
        839 F.2d 1226 (7th Cir. 1988)……………………………………..……….……..12

 In re Pansier
        2019 Bankr. LEXIS 2431 (Bankr. E.D. Wisc. 2019)……………………………..13

 In re Parson
        2018 Bankr. LEXIS 830 (Bankr. N.D. Tex. 2018)……. …………..………...…..20

 In re Rake
        363 B.R. 146, 151 (Bankr. D. Idaho 2007)……………………………………….25

 In re Sherwin-Williams Co.
         607 F.3d 474 (7th Cir. 2010)……..………………………………..……….……..13

 In re St. Michael Motor Express
         2016 Bankr. LEXIS 959 (Bankr. W.D. Tenn. 2016)………………………….24,25

 In re Stroller
         374 B.R. 618 (Bankr. N.D. Ill. 2007)………………………………….…....…12,13

 In re White
        2018 Bankr. LEXIS 2289 (Bankr. E.D. Mich. 2018)…………………………….24

 James v. Cuyahoga Cnty..
        2023 U.S. Dist. LEXIS 41191 (N.D. Ohio 2023)…………………………...…..….6

 Katzman v. Victoria's Secret Catalogue
       939 F. Supp. 274, 277 (S.D.N.Y. 1996)………………………………………….26

 Khan v. Regions Bank
        2011 Bankr. LEXIS 3786 (Bankr. E.D. Tenn. 2011)…………………………….24

 Laird v. Tatum
        409 U.S. 824 (1972)…………………………………..……………….…….…6,12

 Leaf v. Nike, Inc.
         2021 U.S. App. LEXIS 32180 (6th Cir. 2021)……. …….………..……….……..17

 Liteky v. United States
         510 U.S. 540 (1994)……. ……………….………………………..……….….17,18




                                      3
Case 3:23-cv-00918   Document 7   Filed 10/27/23   Page 4 of 30 PageID #: 2226
 Metcalf v. Golden (In re Adbox, Inc.)
        234 Fed. Appx. 420 (9th Cir. 2007)……. …………………………….…….……..20

 Pascazi v. Fiber Consultants, Inc.
        445 B.R. 124, 127-28 (S.D.N.Y. 2011)…………………………………………..25

 Reed v. Rhodes
        179 F.3d 453 (6th Cir. 1999).……. ………………………………..……….……..18

 Seidel v. Durkin (In re Goodwin)
         194 B.R. 214 (9th Cir. BAP 1996)………………………………..…...……….12,21

 Simon v. Amir (In re Amir)
        436 B.R. 1 (6th Cir. B.A.P. 2010)…………………………………….……23,24,25

 Travelers Cas. & Sur. v. Corbin (In re First Cincinnati, Inc.)
        286 B.R. 49 (6th Cir. B.A.P. 2002)………………………………………………..24

 Ultimore, Inc. v. Bucala
        464 B.R. 626 (Bankr. S.D.N.Y. 2012)……………………………………………24

 United States v. Angelus
        258 F. Appx. 840 (6th Cir. 2007)……………….………………………………..…6

 United States v. Hartsel
        199 F.3d 812 (6th Cir. 1999)……………………………………………….……….6

 United States v. Holland
        519 F.3d 909 (9th Cir. 2008)……. ………………………………..………..……..13

 United States v. Jones
        260 B.R. 415, 418 (E.D. Mich. 2000)…………………………………………….25

 United States v. Parker
        837 F. Appx. 341 (6th Cir. 2020)………………………………………….…6,17,18

 United States v. Van Griffin
        874 F.2d 634 (9th Cir. 1989).……. ………………………………..……….……..18

 United States v. Wecht
        484 F.3d 194 (3d. Cir. 2007)……. ………………………………..……….……..19

 United States v. White
        582 F.Supp.3d 525 (E.D. Mich. 2022)……………………………………………26




                                      4
Case 3:23-cv-00918   Document 7   Filed 10/27/23   Page 5 of 30 PageID #: 2227
 Wheeler v. Southland Corp.
       875 F.2d 1246 (6th Cir. 1989)…………...…………………………………..……..6

 Willenbring v. United States
        306 F.2d 944 (9th Cir. 1962)……. ………………………………..……….……..18


                              Federal Statutes

                                                                      PAGE

 28 U.S.C. §455……….…………………………..………………………………......…..12

 28 U.S.C. §453……….…………………………..………………………………......…..13




                                      5
Case 3:23-cv-00918   Document 7   Filed 10/27/23   Page 6 of 30 PageID #: 2228
                            III.    STANDARD OF REVIEW

        Federal appellate courts are very deferential to trial courts when reviewing a motion

 for recusal. Courts review a motion to recuse for an abuse of discretion. See United States

 v. Hartsel, 199 F.3d 812, 815 (6th Cir. 1999); Wheeler v. Southland Corp., 875 F.2d 1246,

 1251 (6th Cir. 1989); In re City of Detroit, 828 F.2d 1160, 1166 (6th Cir. 1987); David v.

 City & Cnty. of Denver, 101 F.3d 1344, 1351 (10th Cir. 1996). Not only is the denial of a

 motion to dismiss reviewed for abuse of discretion, but the Sixth Circuit also takes the

 position that “to preserve judicial resources, ‘a judge has a duty not to recuse when there

 is not a reason for it.’” United States v. Parker, 837 F. Appx. 341, 345 (6th Cir. 2020). The

 duty for a judge not to recuse and remain sitting is “equally as strong as the duty to not sit

 where disqualified”, Laird v. Tatum, 409 U.S. 824, 837 (1972), and “unless a provision of

 federal law requires disqualification, the [judge] has a duty to preside even if doing so

 might be inconvenient.” James v. Cuyahoga Cnty. 2023 U.S. Dist. LEXIS 41191, *32

 (N.D. Ohio 2023); see also, United States v. Angelus, 258 F. Appx. 840, 842 (6th Cir. 2007);

 Hinman v. Rogers, 831 F.2d 937, 939 (10th Cir. 1987).




                                               6
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 7 of 30 PageID #: 2229
                           IV.     STATEMENT OF THE CASE

        This appeal (and, indeed, Appellant’s brief) is virtually identical to the one pending

 before this Court at Case No. 3:23-cv-00392. The most significant difference between this

 matter and the former appeal on this same recusal issue is that, in this case, the appeal fails

 for timeliness, in addition to all of the reasons that the other appeal is not well-taken.1

 Because of the similarities between the appeals, the Appellee’s briefs will be similar except

 for the timeliness argument.

        Like Appellant’s last appeal, this case is about whether a federal bankruptcy judge

 must recuse himself simply because he has made adverse procedural rulings against a party.

 While the Appellant (who has no standing to pursue this appeal) couches this as a case

 about ex parte communications and extrajudicial research, it is really about creating further

 judicial delay by attempting to remove a judge who does not bend to the whim of the

 Appellant.

        The event that allegedly precipitated the filing of Brian Manookian’s Motion to

 Disqualify Judge Charles Walker (Bankr. Doc. 187) (the “Recusal Motion”) was a hearing

 in the related adversary proceeding in which the Bankruptcy Court ordered that all

 depositions (including those of the Appellee and her special counsel) occur at the United

 States Bankruptcy Court for the Middle District of Tennessee. This ruling regarding an

 administrative function angered the Appellant and, he alleges, is evidence of Judge Charles



 1 The Bankruptcy Court also denied the Appellant’s most recent Recusal Motion due to

 the doctrine of collateral estoppel. The Bankruptcy Court found that the Appellant was
 estopped from pursuing this Recusal Motion because it had already ruled on the recusal
 issue in its prior recusal order. Because the Appellant has appealed the prior recusal
 order, this brief will not focus on the collateral estoppel issue. Although the Bankruptcy
 Court was certainly correct that this Recusal Motion was barred by collateral estoppel,
 the issue seems somewhat moot since both orders are now on appeal before this Court.


                                               7
Case 3:23-cv-00918       Document 7        Filed 10/27/23       Page 8 of 30 PageID #: 2230
 Walker’s bias against him. The Appellant, along with other related parties including his

 wife, his wife’s law firm, and his new law firm proceeded to file the first of two recusal

 motions and attempted to depose the sitting bankruptcy judge by subpoena (which was

 quashed by the Bankruptcy Court and affirmed by this Court). In the first recusal motion

 (which is also subject to appeal) and in this Recusal Motion, the Appellant alleges that

 there were two sources of Judge Walker’s alleged bias: a communication between

 Appellee’s special counsel and the courtroom deputy, and the Bankruptcy Court’s alleged

 “extrajudicial research”.

        Despite these serious and defamatory allegations, the Appellant has offered no

 evidence (1) that Judge Charles Walker has shown any bias (objectively or subjectively);

 (2) that alleged ex parte communications were impermissible; or (3) that the Bankruptcy

 Court has conducted any extrajudicial research. By contrast, in his Order Denying Motion

 to Disqualify Bankruptcy Judge Charles Walker (Bankr. Doc. 189), the Bankruptcy Court

 incorporated by reference its former findings which explained in great detail the rationale

 behind his discovery order, why any communications with the courtroom deputy were not

 impermissible, and the source (from the record of the bankruptcy case) of the alleged

 “extrajudicial” information. The Bankruptcy Court also properly noted that this appeal

 was barred by the doctrine of collateral estoppel (due to the Bankruptcy Court’s prior denial

 of an identical motion) and due to untimeliness.        With regard to untimeliness, the

 Bankruptcy Court correctly noted that the Appellant has failed to explain why he waited

 eighteen (18) months after the Bankruptcy Court’s alleged impropriety to file the Recusal

 Motion in the main case of the Cummings Manookian bankruptcy.




                                              8
Case 3:23-cv-00918       Document 7       Filed 10/27/23      Page 9 of 30 PageID #: 2231
         This appeal appears to be nothing more than the latest in a long string of delay

  tactics by the Appellant, as the underlying recusal motion was filed only a week prior to a

  hearing that the Appellant was trying to avoid. Indeed, this Court’s records indicate that

  the Appellant has now appealed five (5) orders from the Bankruptcy Court in this matter,

  including the three (3) that are currently pending before this Court. This appeal should be

  denied and the Bankruptcy Court’s order regarding recusal should be affirmed.




                                              9
Case 3:23-cv-00918       Document 7       Filed 10/27/23     Page 10 of 30 PageID #: 2232
                           V.      SUMMARY OF ARGUMENT

         This appeal lacks any basis in fact or in law. First, the Appellant has been unable

  to present any evidence of Judge Charles Walker’s alleged bias. He has consistently relied

  exclusively upon the Court’s statements at various hearings (which, on their face,

  demonstrate the judge’s lack of bias) and upon a deposition of Appellee’s special counsel

  (who described an allegedly ex parte communication as a brief telephone call with the

  courtroom deputy regarding an administrative matter). These are the undisputed facts of

  this case and they belie the allegations of the Appellant.

         The alleged “ex parte communications” were in fact entirely permissible. The one

  telephone call that was identified by Appellant was between Appellee’s special counsel

  and a courtroom deputy, who is not a member of Judge Walker’s chamber staff. Moreover,

  the telephone call concerned an administrative issue or, at most, a security issue. Case law

  is clear that communications between counsel and courthouse staff, especially those

  concerning administrative matters or security concerns, are not impermissible and would

  form no basis for recusal.

         Nor did Judge Walker engage in any extrajudicial research. He explained, in some

  detail, that the source of his statements regarding Brian Manookian’s behavior before other

  tribunals was exclusively from the record of this case. A judge’s thorough review of a

  case’s record should be a mark of excellence, not a basis for recusal.

         Moreover, the Appellee must once again point out to this Court that Brian

  Manookian has no standing for this appeal. He is not a creditor of the bankruptcy estate

  and, as such, has no standing to pursue this appeal.




                                               10
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 11 of 30 PageID #: 2233
         Finally, as the Bankruptcy Court correctly found, the recusal motion was untimely.

  The Appellant has failed to explain why he delayed approximately eighteen (18) months

  prior to filing the Motion to Recuse in the bankruptcy case. Case law clearly demonstrates

  that this delay, in and of itself, is sufficient grounds for a denial of the Motion to Recuse.




                                                11
Case 3:23-cv-00918        Document 7        Filed 10/27/23      Page 12 of 30 PageID #: 2234
                                     VI.     ARGUMENT

             A. THE APPELLANT HAS FAILED TO ESTABLISH ANY BASIS FOR
                RECUSAL

         Judge Walker properly denied the Appellant’s Recusal Motion because has failed

  to establish any basis for such recusal. The statutory basis of the Recusal Motion is 28

  U.S.C. § 455. That section states in relevant part:

         (a) Any justice, judge, or magistrate judge of the United States shall
         disqualify himself in any proceeding in which his impartiality might
         reasonably be questioned.
         (b) He shall also disqualify himself in the following circumstances:
         (1) Where he has a personal bias or prejudice concerning a party, or
         personal knowledge of disputed evidentiary facts concerning
         the proceeding;

  In evaluating a motion brought under § 455, a judge is not required “to accept all allegations

  by the moving party as true” because “[i]f a party could force recusal of a judge by factual

  allegations, the result would be virtual open season for recusal.” In re Gibson, 2010 WL

  744572, at *2 (Bankr. C.D. Ill. 2010); see also Seidel v. Durkin (In re Goodwin), 194 B.R.

  214, 222-23 (9th Cir. BAP 1996) (finding that the court is not required to take all factual

  allegations as true in a recusal motion). Rather, disqualification “should be viewed as an

  extraordinary occurrence,” and “a federal judge has a duty to sit where not disqualified

  which is equally as strong as the duty not to sit where disqualified.” In re Stroller, 374

  B.R. 618, 621 (Bankr. N.D. Ill. 2007) (quoting Laird v. Tatum, 209 U.S. 824, 837 (1972)).

  “Judges have an obligation to litigants and their colleagues not to remove themselves

  needlessly, because a change of umpire in mid-contest may require a great deal of work to

  be redone . . . and facilitate judge-shopping.” In re Nat’l Union Fire Ins. Co., 839 F.2d

  1226, 1229 (7th Cir. 1988) (citations omitted).




                                               12
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 13 of 30 PageID #: 2235
         The party moving for recusal has a burden of proving doubts about the judge’s

  impartiality. In re Pansier, 2019 Bankr. LEXIS 2431, at *2-3 (Bankr. E.D. Wisc. 2019);

  Stroller, 374 B.R. at 622. The Appellant has failed to meet that burden. A judge is required

  to recuse himself only where (a) a reasonable person might question his impartiality, or

  (b) where the judge is subjectively biased toward a party.2 The first is an objective test that

  asks the court to consider how things might appear from a reasonable and rational party’s

  perspective, not a “hypersensitive, unduly suspicious person.” Hook v. McDade, 89 F.3d

  350, 354 (7th Cir. 1996). “That an unreasonable person focusing on only one aspect of the

  story might perceive a risk of bias is irrelevant.” In re Sherwin-Williams Co., 607 F.3d

  474, 477 (7th Cir. 2010). The second test is a subjective test; “[t]his test is highly personal

  in nature and requires each judge in such situation to set aside emotion and thoughtfully

  examine his ability to impartially ‘administer justice without respect to persons.’” United

  States v. Holland, 519 F.3d 909, 915 (9th Cir. 2008) (quoting 28 U.S.C. § 453).

         The ultimate question presented by the Recusal Motion was whether an objective,

  reasonable person might question the impartiality of the Judge Charles Walker. The

  Bankruptcy Court properly found no basis for recusal because (a) the Appellant has

  presented no evidence whatsoever to support recusal and (b) because the record is devoid

  of any bias, objectively or subjectively, by the Bankruptcy Court.




  2 Only the Bankruptcy Court can answer whether it is subjectively biased toward a party.

  Judge Charles Walker answered that question in the negative in the Bankruptcy Court’s
  Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker (Bankr. Doc. 229
  in Case No. 3:20-ap-90002).


                                                13
Case 3:23-cv-00918        Document 7        Filed 10/27/23      Page 14 of 30 PageID #: 2236
             a. THE APPELLANT HAS OFFERED NO EVIDENCE TO SUPPORT
                THE RECUSAL MOTION

         The Appellant did not support the allegations against Judge Charles Walker

  contained in his Recusal Motion because he has offered no evidence at any evidentiary

  hearing conducted by the Bankruptcy Court, including the one conducted on April 4, 2023,

  in relation to his first motion to recuse. The Appellant having failed to present any evidence

  to support his allegations (despite multiple opportunities to do so), the Bankruptcy Court

  properly denied his Recusal Motion. Likewise, this Court must find that there is no

  evidentiary basis to overturn the Bankruptcy Court’s findings.3

             b. THERE ARE NO INDICIA OF BIAS

         Even if the Appellant had offered some evidence to support his Recusal Motion,

  there is no indication (in the record or otherwise) that Judge Charles Walker is objectively

  or subjectively biased against the Appellant. The Appellant’s argument for recusal seems

  to rest upon the Bankruptcy Court’s ruling, on a rather routine discovery dispute, that all

  depositions in the case must be conducted at the courthouse. This is not an indication of

  bias for a number of reasons. First, the discovery decision was not material or substantive

  in any regard and did not alter the Appellant’s rights. The Bankruptcy Court summarized

  the immateriality of this discovery decision in its order on the first recusal motion, which

  was incorporated by reference in the order that gives rise to this appeal:



  3 In his Opening Appeal Brief, the Appellant argues that he has been prevented from

  gathering evidence because Judge Walker quashed his attempt to subpoena him for
  testimony. This is a red herring for two reasons. First, this Court affirmed the
  Bankruptcy Court’s order quashing that subpoena, on both procedural and substantive
  grounds. See Case No. 22-cv-00474, Doc. 8. Second, the Appellant has failed to present
  any evidence that was in his possession (which was obviously sufficient for him to sign
  and file two recusal motions).


                                               14
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 15 of 30 PageID #: 2237
          Moreover, despite alleging a “corrosive effect on the Court,” movants point
          to no other prejudice to Mr. Manookian than the location of the depositions.
          There was no accusation linked to any ruling on a material issue, no
          objection overruled that hindered or impaired the movant’s rights in this
          matter, and in fact, no instance of prejudice against the movants was
          articulated at all. The prejudice alleged from these three occurrences was
          that the depositions in this case were conducted in the courthouse. The
          location of depositions is an administrative issue, not a material issue. It
          does not impact the issues before the Court. Although Movants insist that
          requiring the depositions to be held in the courthouse reflects the presence
          of the Court’s prejudice against Mr. Manookian, what it more reasonably
          reflects is the judge’s familiarity with the case. The hearing on March 17,
          2022 involved cross-motions to compel and reflected the biggest issue so
          far in this adversary: discovery. In fact, the case is comprised mostly of
          three years of discovery disputes, with rulings reflecting the Court’s stamina
          for fairness and justiciable administration of the case. Moreover, none of
          these issues are material to the case.

  Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker (Doc. 229 in Case

  No. 3:20-ap-90002), at p. 15. An immaterial, procedural decision in not evidence of

  judicial bias.

          Second, Judge Walker’s order that all depositions occur at the courthouse affected

  the Appellee and her counsel at least as much as it affected the Appellant. Three

  depositions were ultimately conducted at the courthouse, those of Brian Manookian, Jeanne

  Ann Burton, and Phillip Young. The deposition of Afsoon Hagh was ultimately conducted

  by Zoom video conference. It is not as if the Appellee’s witnesses were deposed in her

  counsel’s office, while the Appellant’s witnesses were deposed at the courthouse; rather,

  all party witnesses (except Ms. Hagh) were deposed at the courthouse. The order affected

  all parties equally.

          Third, as evidenced by statements of the Bankruptcy Court in its prior order, the

  decision to hold depositions at the courthouse was influenced by a number of factors

  beyond security. As special counsel for the Trustee explained at the hearing, the Trustee




                                               15
Case 3:23-cv-00918        Document 7       Filed 10/27/23      Page 16 of 30 PageID #: 2238
  preferred to take all in-person depositions at the courthouse not just because of security but

  also because conducting depositions at the courthouse is not outside the normal course for

  a trustee, the courthouse provided a centralized location, and conducting the depositions at

  the courthouse provided the litigants easy access to the Court in case of discovery disputes.

  See Hearing Transcript, pp. 82-83. In fact, the Trustee’s primary reason for seeking to

  conduct depositions at the courthouse was the availability of the Bankruptcy Court to rule

  on discovery disputes, since there had already been multiple cross motions to compel

  discovery. Discovery was (and is) a significant, ongoing problem in the related adversary

  proceeding; in fact, the hearing conducted that is the source of the Recusal Motion was to

  resolve outstanding discovery disputes.

         Finally, the Bankruptcy Court’s own comments undermine the Appellant’s claim

  that Judge Charles Walker is biased against him. Judge Walker’s statements from the

  bench demonstrate that he was not prejudging any litigant or their character in any way:

         To be candid, Mr. Spragens, I mean, your client's past behavior before the
         tribunals, and I've had at least two lawyers call the Court and say they don't
         feel comfortable if your client is going to appear, and, you know, the Court
         takes those concerns very seriously and makes no conclusion on whether
         they are valid, they are perceptions which drive behaviors of other parties.
         And to eliminate any of those perceptions, and to protect everyone against
         any allegations of bad behavior, misbehavior, or perceived misbehavior, it
         makes sense to do them here in an environment where no one can get your
         client further down a rabbit hole of he did this or he did that, that we're in a
         neutral environment, which affords certain protections. And if nothing else,
         in terms of everybody's on their best behavior.

         Hearing Transcript, pp. 84-85 (emphasis added). Far from pre-judging Brian

  Manookian or his motives, the Bankruptcy Court specifically stated it was drawing no

  conclusions about Mr. Manookian and ordered that depositions be conducted at the

  courthouse to avoid any allegations of bad behavior, whether real or perceived. The




                                                16
Case 3:23-cv-00918       Document 7         Filed 10/27/23      Page 17 of 30 PageID #: 2239
  Bankruptcy Court reiterated this viewpoint in its first Order Denying Motion to Disqualify

  Bankruptcy Judge Charles Walker:

         In fact.[sic] Judge Walker expressed his objective approach to the situation
         by pointing out that it would protect all parties from any uncomfortable
         situation or any accusation, as well as aid in the expeditious and efficient
         administration of discovery: “And to eliminate any of those perceptions,
         and to protect everyone against any allegations of bad behavior,
         misbehavior, or perceived misbehavior, it makes sense to do them here in
         an environment where no one can get your client further down a rabbit hole
         of he did this or he did that, that we're in a neutral environment, which
         affords certain protections. And if nothing else, in terms of everybody's on
         their best behavior.” Transcript at p. 85

  Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker (Bankr. Doc. 229

  in Case No. 3:20-ap-90002), at p. 14 (quoting Hearing Transcript).

         Simply put, an adverse ruling is not enough to form a claim of bias. Even if a judge

  calls out a litigant and “looks unfavorably on a party’s litigation tactics does not make the

  court improperly biased against that party.” Leaf v. Nike, Inc., 2021 U.S. App. LEXIS

  32180, *19-20 (6th Cir. 2021) (citing Liteky v. United States, 510 U.S. 540, 550-51 (1994);

  United States v. Parker, 837 F. Appx. 341, 346 (6th Cir. 2020)). “For this type of criticism

  to reveal improper bias, the criticism must stem from something that can be described as

  wrongful (for example, a court's use of some outside-the-lawsuit source that it should not

  have considered).” Leaf, 2021 U.S. App. LEXIS 32180 at *20 (citing Parker, 837 F. Appx.

  at 346). Furthermore, “there must be a wrongfulness in that the view is either ‘undeserved’

  or ‘rests upon knowledge that the subject ought not to possess.’” Parker, 837 F. Appx. at

  346 (quoting Liteky, 510 U.S. at 550). Even if the judge does look unfavorably on a litigant,

  if the opinion is formed on facts introduced during the proceedings it will not be a basis of

  bias unless the judge “displays a deep-seated favoritism or antagonism that would make

  fair judgment impossible.” Liteky, 510 U.S. at 555. Essentially, there must be a strong



                                               17
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 18 of 30 PageID #: 2240
  showing of bias that derives from outside or incorrect sources, or the bias is extreme. An

  example of extreme bias is “disparaging the nationality of the defendant by declaring that

  all people of that nationality have ‘hearts [that] are reeking with disloyalty.’” Parker, 837

  F. Appx. at 347 (quoting Liteky, 510 U.S. at 555).

            Judge Charles Walker’s statements, on their very face, indicate that he was not

  prejudging any party or witness, and he certainly demonstrated no objective or subjective

  bias toward any party to this matter. His statements were not extreme nor were they derived

  from any outside sources. As such, there is no basis for recusal and this appeal must be

  denied.

     B.        THERE WERE NO IMPERMISSIBLE EX PARTE COMMUNICATIONS
               WITH THE BANKRUPTCY COURT

            In the Recusal Motion, the Appellant accuses Judge Charles Walker of having one

  or more ex parte communications with counsel involved in this matter which, the

  Appellants claim, biased the Bankruptcy Court. The facts simply do not support these

  allegations.

            First, it is important to note that not all ex parte communications are impermissible;

  indeed, some may be necessary. The occurrence of an ex parte communication with the

  court or its staff does not automatically necessitate recusal.              “While ex parte

  communications are discouraged, they aren’t always improper and don’t necessarily call

  for recusal.” Blixseth v. Yellowstone Mt. Club, LLC, 742 F.3d 1215, 1219 (9th Cir. 2013)

  (citing Reed v. Rhodes, 179 F.3d 453, 468-69 (6th Cir. 1999); United States v. Van Griffin,

  874 F.2d 634, 637 (9th Cir. 1989); Willenbring v. United States, 306 F.2d 944, 946 (9th Cir.

  1962)). The fact that an ex parte communication occurred, on its own, does not require

  recusal. In re Allen, 2009 LEXIS 4431, at *26 (Bankr. Idaho 2009); see also Willenbring,



                                                 18
Case 3:23-cv-00918          Document 7       Filed 10/27/23      Page 19 of 30 PageID #: 2241
  306 F.2d at 946. Ex parte communications are only the basis for recusal when the

  substance of those communications might cause a reasonable person to question the judge’s

  impartiality. Blixseth, 742 F.3d at 1219; United States v. Wecht, 484 F.3d 194, 214-15 (3d

  Cir. 2007).

         The Appellant bases his allegations of bias created by ex parte communications on

  two things: (1) the Bankruptcy Court’s disclosure to Brian Manookian’s counsel that “I’ve

  had at least two lawyers call the Court and say they don’t feel comfortable if your client is

  going to appear. . .”, Hearing Transcript, p. 85, and (2) testimony of the Appellee’s special

  counsel that he telephoned the courtroom deputy (who is not a member of Judge Walker’s

  chambers4) to alert the courtroom deputy to an administrative problem -- that is that the

  Debtor’s principal, Brian Manookian, had an order of protection entered against him by

  counsel for the bankruptcy estate’s largest creditor.5 These are the only facts upon which

  the Appellant relies for his accusation that ex parte communications have created bias.

  However, the law seems clear that the conversation detailed above, and about which special

  counsel testified, would not lead a reasonable person to question the Court’s impartiality

  and did not warrant recusal.

         First, special counsel described the purpose of the telephone call to the courtroom

  deputy as an administrative matter, or “a logistical issue” as he referred to it in his

  testimony. See Transcript of Deposition of Phillip Young, pp. 43-46.6 A number of courts




  4 See Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker (Bankr.

  Doc. 229 in Case No. 3:20-ap-90002), p. 2, footnote 6.
  5 Note that the Appellant never disputes that he was, in fact, subject to a protective order

  obtained by another attorney.
  6 In his Opening Brief, the Appellant states that Appellee’s special counsel “denied any

  specific recollections” of his conversation with the courtroom deputy. See Appellants’


                                               19
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 20 of 30 PageID #: 2242
  have held that discussions between a party’s counsel and a court concerning administrative

  matters does not constitute an impermissible ex parte communication that would warrant

  recusal. See, e.g., Metcalf v. Golden (In re Adbox, Inc.), 234 Fed. Appx. 420, 420 (9th Cir.

  2007) (“Although the Metcalfs have identified several ex parte contacts between the

  bankruptcy judge, his law clerk and counsel for appellees, those communications related

  to purely procedural matters.”); In re Beard, 811 F.2d 818, 829-30 (4th Cir. 1987) (meeting

  between a district court judge and debtor’s counsel to discuss “a procedural order to govern

  the administration of a complex Chapter 11 proceeding” was no basis for recusal); In re

  Casco Bay Lines, Inc., 17 B.R. 946, 956 (1st Cir. BAP 1982) (communications between

  bankruptcy judge and Chapter 11 Trustee concerning administrative, rather than

  substantive, issues did not require disqualification); Blixseth, 742 F.3d at 1220 (“Ex parte

  communications with judicial staff concerning routine administrative matters do not raise

  any inference of bias.”); Allen, 2009 Bankr. LEXIS at *26-30 (a telephone call between a

  judge and counsel to discuss scheduling of an emergency hearing did not warrant recusal).

  This is even more true where the communication was between counsel and the courtroom

  staff, as opposed to the judge himself. In re Parson, 2018 Bankr. LEXIS 830, at *12

  (Bankr. N.D. Tex. 2018) (“Importantly, the Court’s courtroom deputy and the intake staff

  at the clerk’s office have been the only means of communication between the Court,

  [counsel], and the Debtor.”).

         Moreover, even if the purpose of the communication from the Trustee’s counsel to

  the Bankruptcy Court’s staff had been to express a security concern about Mr. Manookian,




  Opening Brief, p. 14. As the transcript of the deposition of Phillip Young proves, that is
  a demonstrably false statement.


                                              20
Case 3:23-cv-00918       Document 7       Filed 10/27/23      Page 21 of 30 PageID #: 2243
  or if the Bankruptcy Court’s staff interpreted such conversation as expressing a security

  concern, that communication would not warrant recusal. The United States Bankruptcy

  Appellate Panel considered and rejected a nearly identical argument in Seidel v. Durkin (In

  re Goodwin), 194 B.R. 214 (9th Cir. BAP 1996). Among the reasons cited for recusal by

  the movant in Seidel was that “the judge admitted that his secretary had received calls from

  persons attending the proceedings who expressed concerns about their safety.” Seidel, 194

  B.R. at 224. However, the appellate court concluded: “There is no merit to the contention

  that the judge should be disqualified because of phone calls to his secretary regarding

  security. The judge has an obvious administrative responsibility concerning the security

  of the courtroom. This includes protecting not only the judge personally, but also the

  parties, the attorneys, the witnesses, and the spectators.” Id. The 9th Circuit BAP

  elaborated: “Here the expressions of concern were made to the judge’s secretary, and not

  to the judge personally. The security imposed was hardly exceptional. These facts would

  not cause a reasonable person to question the judge’s impartiality.” Id.7

      Thus, whether the Bankruptcy Court’s staff considered the telephone call from the

  Trustee’s special counsel to be merely an administrative function, as counsel believed, or

  whether they considered it to be a statement of concern for security, as the Appellant

  alleges, it was not an ex parte communication that any reasonable person would believe

  could taint Judge Walker’s impartiality. It involved an administrative matter and its impact

  upon the Bankruptcy Court, if any, was regarding an administrative matter, i.e. the physical




  7
   In the Seidel case the Court’s initial security measure was simply to post a United States
  Marshal in the courtroom for each hearing.


                                              21
Case 3:23-cv-00918       Document 7       Filed 10/27/23      Page 22 of 30 PageID #: 2244
  location for depositions. The Bankruptcy Court expressly stated that it has formed no

  opinion about the veracity of any security concern, much less any substantive matter.

     C.       THE BANKRUPTCY COURT CONDUCTED NO EXTRAJUDICIAL
              RESEARCH

          In their Recusal Motion the Appellant also (and without any factual basis) accuses

  Judge Charles Walker of engaging in “extrajudicial research” which biased him against

  Brian Manookian and/or the parties to the adversary proceeding. There is no evidence to

  support the Appellant’s allegation in this regard. Rather, this allegation is based upon an

  assumption that the Appellant draws from a statement made by Judge Walker at a hearing

  on March 17, 2022 regarding Brian Manookian’s “past behavior before the tribunals”.

          In contrast to the presupposition and conjecture that led the Appellant to accuse

  Judge Walker of extrajudicial research, the Bankruptcy Judge clearly described the sources

  of information that led him to that statement, all of which was in the record of this

  bankruptcy case. See Order Denying Motion to Disqualify Bankruptcy Judge Charles

  Walker (Bankr. Doc. 229 in Case No. 3:20-ap-90002), pp. 13-14. As the Bankruptcy Court

  summarized, the record in this bankruptcy case is replete with references to sanctions

  issued against Brian Manookian by state and federal courts for:

          -   Acting in bad faith and disrupting the litigation process
          -   Engaging in a pattern of obfuscation
          -   Failure to provide credible explanations
          -   Engaging in conduct that essentially amounted to a flouting of the
              Court’s Orders
          -   Repeatedly ignoring the clear directives of the Court
          -   Conducting himself in a reckless manner




                                              22
Case 3:23-cv-00918       Document 7       Filed 10/27/23     Page 23 of 30 PageID #: 2245
  Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker (Bankr. Doc. 229

  in Case No. 3:20-ap-90002), p. 14.8

          The Bankruptcy Court has denied conducting any extrajudicial research about

  Brian Manookian or any of the related parties in this matter. Instead, it has explained the

  sources for its comments concerning Mr. Manookian’s “past behavior before the tribunals”

  and has identified those sources from within the record of this bankruptcy case. There is

  no evidence to dispute the Bankruptcy Court’s explanation; therefore, the Bankruptcy

  Court properly denied the Recusal Motion on the grounds that it had not conducted

  extrajudicial research.

     D.      APPELLANT LACKS STANDING

     The Appellee must again point out that this appeal is being advanced by Brian

  Manookian, who has no standing in this matter. “In order to have standing to appeal a

  bankruptcy court order, an appellant must be a ‘person aggrieved’ by the bankruptcy

  court’s order.” Simon v. Amir (In re Amir), 436 B.R. 1, 9-10 (6th Cir. B.A.P. 2010) (citing

  Fidelity Bank, Nat’l Ass’n v. M.M. Group, Inc., 77 F.3d 880, 882 (6th Cir. 1996)). “This

  doctrine limits standing to those persons who ‘have been directly and adversely affected

  pecuniarily by the order. . . . Only when the order directly diminishes a person’s property,

  increases his burdens, or impairs his rights will [an appellant] have standing to appeal.’”



  8 The Appellant contends that Judge Walker should have never considered the contempt

  pleadings and orders from the state court regarding Mr. Manookian because the contempt
  order was ultimately reversed and remanded for further hearing. However, the court of
  appeals opinion that reversed the sanctions order did not find that the judge was actually
  biased or that his conclusions about Mr. Manookian were unwarranted. In fact, it praised
  the lower court’s “extraordinary patience” and its “thorough…review of serious
  allegations”. The court of appeals only reversed because it found that there existed a
  “reasonable basis for questioning his impartiality”. Therefore, the Bankruptcy Court was
  warranted in drawing certain conclusions based upon the state court proceedings.


                                              23
Case 3:23-cv-00918          Document 7    Filed 10/27/23      Page 24 of 30 PageID #: 2246
  Id. at 10 (quoting Fidelity Bank, 77 F.3d at 882; citing Travelers Cas. & Sur. v. Corbin (In

  re First Cincinnati, Inc.), 286 B.R. 49, 51 (6th Cir B.A.P. 2002)). “The burden of proving

  that a party is a ‘person aggrieved’ is on the appellant asserting standing to pursue an

  appeal.” Id. (citing Fidelity Bank, 77 F.3d at 882).

         Appellant did not file a claim in the Debtor’s bankruptcy case, as evidenced by the

  claims register maintained by the Bankruptcy Court Clerk. Appellant, who signed the

  schedules under oath subject to penalty of perjury, did not list himself as a creditor of this

  estate. See Bankruptcy Doc. 7, 8, 9. Nevertheless, he has periodically attempted to object

  to motions filed by the Trustee or to file his own motions in an attempt to hinder or delay

  the administration of this estate.

         Bankruptcy courts are consistent in finding that a Chapter 7 debtor, or the principal

  of a corporate Chapter 7 debtor, lacks standing to challenge the actions of the bankruptcy

  trustee or the administration of the estate. See, e.g., Furlough v. Cage (In re Technicool

  Systems), 896 F.3d 382 (5th Cir. 2008) (principal of a chapter 7 debtor corporation had no

  standing to challenge trustee’s employment of counsel); In re White, 2018 Bankr. LEXIS

  2289 (Bankr. E.D. Mich. 2018) (Chapter 7 debtor had no standing to challenge trustee’s

  fees and expenses); In re St. Michael Motor Express, 2016 Bankr. LEXIS 959 (Bankr.

  W.D. Tenn. 2016) (principal of chapter 7 debtor had no standing to challenge trustee’s

  abandonment of property because the case was not a surplus case); Khan v. Regions Bank,

  2011 Bankr. LEXIS 3786 (Bankr. E.D. Tenn. 2011) (debtor in an insolvent case had no

  standing to challenge a proof of claim); Ultimore, Inc. v. Bucala, 464 B.R. 626 (Bankr.

  S.D.N.Y. 2012) (debtor had no standing to pursue a cause of action because it was not an

  interested party); Boyd v. Shuford, 2018 U.S. Dist. LEXIS 54661 (W.D.N.C. 2018)




                                               24
Case 3:23-cv-00918        Document 7       Filed 10/27/23      Page 25 of 30 PageID #: 2247
  (Chapter 7 debtor had no standing to challenge attorneys’ fees because it was not a surplus

  case); Pascazi v. Fiber Consultants, Inc., 445 B.R. 124 (Bankr. S.D.N.Y. 2011) (debtor’s

  principal had no standing to object to a claim because the case was not a surplus case). This

  is because a Chapter 7 debtor, or its corporate principal, is not deemed an “interested party”

  by the courts. Id. The two exceptions to this general rule are (1) where a proceeding might

  affect a discharge or an exempt asset or (2) where the case is likely to be a surplus case.

  See In re St. Michael Motor Express, 2016 Bankr. LEXIS 959, *11 (Bankr. W.D. Tenn.

  2016). If the debtor or its principal claims standing because a matter is a surplus case, it

  is the debtor’s (or its principal’s) burden to prove, with concrete evidence, that the case is

  likely to result in a surplus. Id.; see also Simon v. Amir, 436 B.R. 1, 11 (6th Cir. BAP 2010);

  United States v. Jones, 260 B.R. 415, 418 (E.D. Mich. 2000). A party seeking standing

  “cannot simply claim that there is a theoretical chance of a surplus in the estate, but must

  show that such a surplus is a reasonable possibility.” Simon v. Amir, 436 B.R. at 11

  (quoting In re Rake, 363 B.R. 146, 151 (Bankr. D. Idaho 2007)). The ability of a party to

  prove that a surplus is a reasonable possibility is an even more difficult burden when the

  primary asset upon which a surplus might be attained is contingent litigation, which is the

  case here. Valuing such “soft assets” is a difficult exercise for a court, and requires the

  court to discount those assets for cost of litigation and risks attendant to litigation. Pascazi

  v. Fiber Consultants, Inc., 445 B.R. 124, 127-28 (S.D.N.Y. 2011).

          In this matter, there will be no discharge (because the Debtor is a corporate entity)

  and there are no exempt assets. In order for the Appellant to affirmatively prove that he

  has standing to be heard in this matter, he has the burden of showing, with “concrete




                                                25
Case 3:23-cv-00918        Document 7        Filed 10/27/23       Page 26 of 30 PageID #: 2248
  evidence” that there is a “reasonable possibility” of a surplus. He has made no such

  showing before filing this appeal.

          The Appellant has not been “directly and adversely affected pecuniarily by the

  order” and has no standing to pursue this appeal. Accordingly, this Court should find that

  Mr. Manookian lacks standing to pursue this appeal.

     E.      THE MOTION TO RECUSE WAS UNTIMELY

          As noted above, this is the Appellant’s second appeal of an order denying a motion

  to recuse Judge Charles Walker. Unlike the former motion to recuse (filed in the adversary

  proceeding), however, this Motion to recuse (filed in the main case) was untimely. The

  comments made by the Bankruptcy Court which the Appellant argues demonstrates bias

  were made at a hearing on March 17, 2022; yet, Appellant did not file this Motion to Recuse

  until August 23, 2023, approximately eighteen (18) months later.

          As the Bankruptcy Court correctly found, case law is clear and unambiguous that

  such delay renders the Recusal Motion untimely. See In re Haas, 292 B.R. 167, 181

  (Bankr. S.D. Ohio 2003), citing Am. Express Travel Related Servs. Co., Inc. v. Fraschilla

  (In re Fraschilla), 235 B.R. 449, 459 (9th Cir. BAP 1999); LeVay v. Morken, 590

  F.Supp.3d 1037 (E.D. Mich. 2022); United States v. White, 582 F.Supp.3d 525 (E.D. Mich.

  2022); In re International Bus. Mach. Corp., 45 F.3d 641, 643 (2d Cir.1995); Katzman v.

  Victoria's Secret Catalogue, 939 F. Supp. 274, 277 (S.D.N.Y. 1996). Notably, Appellant

  failed to offer any explanation or excuse for this prolonged delay in his Opening Brief; that

  is because there is none.




                                               26
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 27 of 30 PageID #: 2249
                                   VII.    CONCLUSION

         The Appellant has failed to support his allegations in the Recusal Motion with any

  admissible evidence. Judge Charles Walker has demonstrated no bias against the Appellant

  or any related party. Judge Charles Walker had no communications concerning this case

  or the Appellant with any party, and the courtroom staff had no impermissible ex parte

  communications concerning this case.         Judge Charles Walker did not conduct any

  extrajudicial research regarding this matter. The Appellant has failed to adequately explain

  his eighteen (18) month delay in filing this Motion to Recuse, rendering it untimely.

  Nevertheless, Brian Manookian (who does not even have standing) continues to press his

  unfounded allegations against a sitting bankruptcy judge in order to delay the

  administration of justice in this case. For all of the foregoing reasons, the Bankruptcy

  Court’s Order Denying Motion to Disqualify Bankruptcy Judge Charles Walker should be

  affirmed and this appeal should be denied.


                                                Respectfully submitted,

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                                              27
Case 3:23-cv-00918       Document 7       Filed 10/27/23      Page 28 of 30 PageID #: 2250
      VIII. CERTIFICATE OF COMPLAINCE WITH FED. R. APP. P. 32(a)(7)

         This brief complies with the type-volume limitation of Fed. R. App. P. 32(a)(7)(B)

  because this brief contains 7098 words.

         This brief complies with the typeface requirements of Fed. R. App. P. 32(a)(5) and

  the type style requirements of Fed. R. App. P. 32(a)(6) because this brief has been prepared

  in a proportionally spaced typeface using Microsoft Word for Mac 2011 in 12-point Times

  New Roman Font.




                                                28
Case 3:23-cv-00918       Document 7         Filed 10/27/23    Page 29 of 30 PageID #: 2251
                           IX.     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was filed electronically on this 27th day

  of October, 2023. Notice of this filing will be sent by operation of the Court’s electronic

  filing system and by U.S. Mail, first-class, postage prepaid, to all parties listed below.

  Parties may access this filing through the Court’s electronic filing systems.

         John Tate Spragens
         Spragens Law PLC
         311 22nd Ave. N
         Nashville, TN 37203


                                                /s/ Phillip G. Young, Jr.
                                                Phillip G. Young, Jr.




                                               29
Case 3:23-cv-00918       Document 7        Filed 10/27/23      Page 30 of 30 PageID #: 2252
